Filing Case                                                            EXHIBIT A
            0:18-cv-61980-DPG
       # 73357963                Document
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                                                   IN THE CIRCUIT COURT OF THE
                                                   SEVENTEENTH JUDICIAL CIRCUIT, IN AND
                                                   FOR BROWARD COUNTY, FLORIDA

                                                   CIVIL DIVISION

                                                   CASE NO. CACE 16-015959
        RONALD MOREL,

                       Plaintiff,
        v.

        JULIE L. JONES, in her official
        capacity as Secretary of the
        Department of Corrections, and
        MIKE CARROLL, in his official
        capacity as Secretary of the
        Department of Children and Families,
        THE GEO GROUP, INC.,
        a Florida corporation,
        GEO CARE LLC, a limited liability company,
        and WILLIAM R. THIES, individually.

                    Defendants.
        ______________________________/

                                      AMENDED COMPLAINT

               Plaintiff, RONALD MOREL, sues JULIE L. JONES, in her official capacity as Secretary of

        the Department of Corrections, and MIKE CARROLL, in his official capacity as Secretary of the

        Department of Children and Families, THE GEO GROUP, INC., a Florida corporation, GEO CARE

        LLC, a Florida limited liability company, and WILLIAM R. THIES, in his individual capacity, and

        alleges the following:

                                             INTRODUCTION

        1.     This action challenges the detention resulting from the civil commitment of Plaintiff

               (hereinafter referred to as “Morel”), by Defendants, on the grounds that Morel was not

               subject to, and did not meet the eligibility criteria for the civil commitment, and also
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         challenges the resulting malicious prosecution of Morel under the Jimmy Ryce Act, and the

         bad faith acts of agents of DCF and DOC. As a result, Morel was illegally and improperly

         detained, and held in pre-trial “civil commitment” detention by the Defendants for over 12

         years, until his case was dismissed by the appeals court for the lack of original jurisdiction

         over him. His illegal detention lasted from about April 17, 2002 until June 18, 2014.

                                              PARTIES

   2.    Plaintiff, RONALD MOREL (“Morel”), is an adult resident of Hernando County, Florida

         who, at all material times, was detained and otherwise imprisoned by the Defendants and

         their agents as more fully alleged herein.

   3.    Defendant, JULIE L. JONES, is sued in her official capacity as the Secretary of the

         Department of Corrections (“DOC”), and was vested with the authority and ability to detain

         and civilly commit Morel at various times, and to release Morel to the Department of

         Children and Families (“DCF”) for further detention.

   4.    Defendant, MIKE CARROLL, is sued in his official capacity as Secretary of DCF, which at

         all material times implemented and executed the mandates of Section 394.910, et. seq.,

         Florida Statutes, which authorized the Department of Children and Families to involuntarily

         commit certain offenders (“civil commitments”).

   5.    Defendant, THE GEO GROUP, INC., (“GEO”) is a Florida corporation that operated the

         Florida Civil Commitment Center (“FCCC”) in DeSoto County, Florida, through a contract

         with DCF. Defendant GEO CARE LLC is also a Florida limited liability company formed

         in 2012 to operate the FCCC through a contract with DCF.

   6.    Defendant WILLIAM R. THIES is sued in his individual capacities due to his acts, errors,


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         and omissions in April 2002 that commenced the prosecution against Morel, and led to his

         12 year illegal commitment. His role is more fully alleged herein.

                                          JURISDICTION

   7.    This action arises under 42 U.S.C. §§ 1983, for which this Court has jurisdiction pursuant

         to 28 U.S.C. §§ 1331, 1343, and 1367, and also for state law claims. This is also an action

         for damages in excess of $15,000.00

   8.    Attorneys’ fees and costs are sought pursuant to 42 U.S.C. § 1988, where applicable.

   9.    All acts of Defendants and their agents have been taken under color of state law.

   10.   Where required, DOC and DCF were placed on formal notice of suit, pursuant to Section

         768.26(6), Florida Statutes, and more than six months has elapsed since receipt of that notice.

         See Exhibit A.

                                               VENUE

   11.   Venue is proper in Broward County as the orders of commitment for Morel were originally

         issued in Broward County, Florida, and Morel was involuntarily committed to DCF’s care

         and custody in April 2002, while in Broward County, Florida.

                                               FACTS

   12.   On or about January 23, 1995, Morel was arrested for sexual battery and false imprisonment,

         and a prosecution was commenced in Broward County (Case #: 95001479CF10A). On or

         about February 1, 1996, Morel was found guilty after a jury trial. On or about March 6,

         1996, Morel was sentenced in Broward County to a term of 160.2 months in state prison with

         credit for 347 days of imprisonment that he already served. He was committed to the DOC.

         Morel was not designated as a sexual predator under Section 775.21, Florida Statutes.

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   13.   Dennis Siegel, then an assistant state attorney in charge of the sex crime/child abuse unit of

         the Broward County State Attorney’s Office, in response to an inquiry from the DOC

         regarding classification and placement for Morel, wrote to them on or about October 15,

         1998, that Morel did not qualify as a sexual predator. He stated: “I have reviewed our file

         and noted that the inmate was convicted of sexual battery - great force not used - a second

         degree felony, and had no prior convictions for a sex crime. Accordingly, he does not qualify

         as a sexual predator.”

   14.   In connection with the aforementioned conviction, Morel filed in November 2001 his

         “Motion to Correct Illegal Sentence” due to an incorrect assessment of 5.6 points (on the

         score sheet) for a prior burglary conviction that did not belong to him.

   15.   On or about April 17, 2002, Morel’s “Motion to Correct Illegal Sentence” was granted, and

         by stipulation with the State of Florida, Morel was re-sentenced to 120 months with credit

         for 347 days concurrent on each count, nunc pro tunc to March 6, 1996 (the original

         sentencing date).

   16.   Based on this new sentence, DOC incorrectly re-calculated his release date to be January 29,

         2002, when in fact his actual release date should have been prior to January 1, 1999, the

         effective date of the Jimmy Ryce Act. Hence, as of that date of re-sentencing, Morel had

         served more time than required under this new sentence, so he was no longer supposed to

         remain in DOC custody, as the sentence had expired.            Even with DOC’s incorrect

         calculation, Morel’s sentence expired on January 29, 2002.

   17.   At this point, Morel was no longer in “lawful custody” by DOC and should have been

         released. DOC and DCF, and their agents knew that they had no jurisdiction to consider him


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         for civil commitment under Section 394.912(10)(b), Fla. Stat.

   18.   Nevertheless, on April 18, 2002, Defendant William H. Thies, the Correctional Services

         Administrator for DOC, wrote to Dr. Karen Parker, the Director for the Sexually Violent

         Predators Program, and stated that Morel had been identified by DOC as a “sexually violent

         predator” as defined by the Jimmy Ryce Act, and that Morel was scheduled for release from

         incarceration. In that letter, Defendant Thies incorrectly listed “11/5/2003” as Morel’s

         “forecasted release date,” when in fact is was “1/29/2002” or earlier.

   19.   On that same day, Defendant Thies received a letter from Dr. Karen Parker requesting that

         Morel be transported to the Florida Civil Commitment Center (hereinafter referred to as the

         “FCCC”). Defendant Thies obliged, and caused Morel to be transported to FCCC, as

         opposed to being released from DOC. The failure to release Morel caused the civil

         commitment procedure to be initiated against Morel. Defendant Thie’s decision was made

         in bad faith to ensure that Morel would not be released from the custody of DOC without

         DCF being able to institute civil commitment proceedings, despite Defendant Thies knowing

         that Morel was not in lawful custody as of April 18, 2002.

   20.   After Morel was transferred to the FCCC in DeSoto, he was placed on a 72 hour hold for

         DCF’s specialized team to evaluate him. On that same date, DCF wrote to the FCCC

         affirming that Morel was transported from DOC to FCCC, based on DCF’s desire to

         determine if he met the criteria for being a sexually violent predator. Morel was then

         considered a resident and pre-trial detainee of the FCCC, and was not released for more than

         12 years, as more fully alleged herein.

   21.   The FCCC is run by Defendant The GEO Group, Inc., pursuant to a contract with DCF.


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         The contract was later amended to include Defendant GEO Care LLC.

   22.   Defendants The GEO Group, Inc., and GEO Care LLC, had a duty to ensure that each person

         committed to the FCCC was properly admitted to the facility pursuant to state law. These

         defendants were paid by DCF and the State of Florida approximately $100 per day per

         detainee, for custody, care, and control, or approximately $36,500 a year. DCF paid these

         Defendants over $440,000 to incarcerate for Morel during his 12 year stay. None of these

         defendants ever independently verified Morel’s amended release date from DOC custody,

         and whether he was in “lawful custody” when he was transferred to FCCC.

   23.   At the time Morel was detained and transferred to FCCC, state law was clear and well-

         established that the Jimmy Ryce Act applied only to persons who were in lawful custody, and

         that lawful custody ended when a sentence expired. See Atkinson v. State, 791 So.2d 537

         (Fla. 2nd DCA July 27, 2001). This opinion also established that if the adjusted release date

         for a detainee was before January 1, 1999, then there was no jurisdiction to commence civil

         commitment proceedings, because as of the effective date, the detainee was not in lawful

         custody.

   24.   The actions of Defendant Thies and other agents of DCF and DOC caused a Jimmy Ryce Act

         petition to be filed, and caused Morel to be improperly subjected to the Jimmy Ryce Act

         proceedings and to continue to be detained.

   25.   Accordingly, on or about April 23, 2002, an assistant state attorney filed a petition alleging

         that, based on information provided by Defendants Parker and Heffron, Morel met the

         criteria for commitment under the Jimmy Ryce Act. Thereafter, Morel was appointed counsel

         and waived his right under Section 394.916(1), Fla. Stat., to have a commitment trial held


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         within 30 days of the court’s probable cause determination.

   26.   On or about May 23, 2002, Morel filed his first “Motion for Immediate Release from Civil

         Commitment” claiming he was being held improperly and that he was not in lawful custody

         on April 18, 2002, because his sentence had expired earlier. The Defendants were aware of

         this motion. That initial motion was heard and denied by trial court. Morel repeatedly

         reminded DCF and agents of GEO Care, Inc., that he was being improperly detained, from

         at least April 2002 until his release in June 2014.

   27.   Thereafter, the DOC (via Bureau Chief of Sentencing Structure and Transportation) filed an

         affidavit on or about June 17, 2002, which incorrectly stated that Morel’s “overall release

         date” was adjusted to January 29, 2002. The affidavit failed to apply the proper basic and

         incentive gain times that Morel was entitled to by virtue of Section 944.275(4), Fla. Stat.

   28.   On or about February 10, 2009, Morel filed a “Pro Se Emergency Petition for Habeas Corpus

         Relief,” asserting that due to a policy excluding non-committed detainees from participation,

         DCF was unconstitutionally denying him full access to the sexual offender treatment

         program, and that such program was a prerequisite for release. On or about April 1, 2009,

         that petition was denied.

   29.   Morel appealed that denial. The Second District then certified an Order “Requiring

         Immediate Resolution by the Florida Supreme Court.”           In January 2011, the Florida

         Supreme Court relinquished jurisdiction of matter to the trial court ordered a hearing to

         resolve facts surrounding the 8 year delay in treatment.

   30.   On or about February 18, 2011, Morel participated in an evidentiary hearing regarding the

         delay in his case moving forward. In December 2011, the Florida Supreme Court lifted the


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         temporary stay and ordered Morel’s civil commitment proceedings to move forward

         immediately without any further delay Ultimately, the Florida Supreme Court issued an

         opinion in Morel v. Wilkens, (Fla. March 8, 2012), opining that the denial of program

         services to Morel was not a constitutional violation.

   31.   In furthering his insistence that he was being detained improperly, Morel filed filed another

         “Motion to Dismiss” in January 2012, alleging that the State’s petition for civil commitment

         as a sexually violent predator (SVP) should be dismissed for lack of subject matter

         jurisdiction – in that Morel was taken to FCCC in violation of state law. That motion was

         denied, in part because the trial court relied upon the “safety valve provisions” of Section

         394.9135, Fla. Stat., which existed in 2012 but did not exist in 2002 when Morel was

         illegally detained and prosecuted. Morel appealed that decision to the Fourth District Court

         of Appeal.

   32.   Thereafter, Morel entered into a stipulation with the State whereby he waived his right to a

         trial, and committed himself voluntarily to the FCCC, but specifically reserved his right to

         appeal the decision denying his “Motion to Dismiss” for lack of jurisdiction. This allowed

         Morel to receive program benefits and appeal the dismissal motion.

   33.   On or about May 14, 2014, the Fourth District Court of Appeal reversed the denial of the

         Motion to Dismiss for lack of jurisdiction, and found that DCF did not have jurisdiction to

         civilly commit Morel. The Court noted: “[i]f the individual is not in lawful custody, in that

         his sentence is expired, the circuit court is without jurisdiction to adjudicate the commitment

         petition.” (Morel v. Florida, 4D12-447, May 14, 2014).

   34.   A month later, on or about June 18, 2014, Morel was released from custody by order of court


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         (by agreement of Defendant DCF and other state agents).

   35.   Morel was illegally held in civil commitment by DCF and Defendants The GEO Group Inc.,

         and GEO Care LLC, from April 18, 2002, until June 18, 2014, for a total of 12 years and

         2 months. During that time period, he was not free to leave the facility, and was under

         constant supervision.

                                              COUNT I

                              (42 U.S.C. § 1983: Malicious Prosecution
                                  as to Defendant William R. Thies)

   36.   Plaintiff Morel realleges and adopts by reference the allegations contained in paragraphs 1

         through 35, as if fully set forth herein.

   37.   On or about April 18, 2002, or at some point thereafter, Defendant Thies caused a civil

         commitment prosecution to be commenced against Morel, by failing to release Morel from

         DOC custody, and instead causing the transportation of Morel to DCF custody so that he

         could be committed to the FCCC under the Jimmy Ryce Act.

   38.   The prosecution of Morel required that he had to remain “civilly committed” and detained

         at the FCCC until an evaluation was completed, and would have to participate in Phases I

         through IV of the sex offender treatment.

   39.   At the time of the commencement of the prosecution under the Jimmy Ryce Act, there was

         no basis for a reasonable person to believe that Morel was subject to the jurisdiction of the

         DCF, based on the illegal custody of Morel, the case law, the plain language of state law, and

         the revised release date for Morel which meant that he was not in lawful custody on April

         18, 2002. Hence there was absence of probable cause for such proceedings.



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   40.   Defendant Thies acted with malice in causing this prosecution. Malice is implied by the fact

         that Morel did not meet the criteria eligibility for civil commitment, and that DOC no longer

         had Morel in “legal custody,” and that the case law and state law had defined the term “legal

         custody” as of April 18, 2002. The reckless disregard for the rights of Morel, and the various

         statements made by these defendants to cause the prosecution and civil commitment,

         including the statement to DCF and others that Morel appeared to be a “sexually violent

         predator.”

   41.   No prosecution of Morel under the Jimmy Ryce Act would have occurred but for the acts of

         Defendant Thies, in forcibly transporting Morel to FCCC and refusing to have him released

         to freedom.

   42.   The “civil commitment” was resolved in favor of Morel in May 2014, as more fully alleged

         herein, when the Fourth District Court of Appeals found that DCF had never had any

         jurisdiction over Morel to initiate the Jimmy Ryce Act proceedings and detain him. Morel

         was released from custody on or about June 18, 2014.

   43.   All acts of Defendant Thies were taken under color of state law. He acted with reckless

         disregard for the rights of Morel by commencing the proceedings without probable cause or

         justification, in violation of the Fourth and Fourteenth Amendments to the United States

         Constitution.

   44.   42 USC § 1983 provides a remedy for this malicious prosecution.

   45.   As a result of the malicious prosecution by Defendant Thies, Morel suffered damages

         including past, present, and future emotional distress, embarrassment, humiliation, shame,

         and loss of freedom for more than 12 years, all of which exist to this day and continue in the


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          future.

          WHEREFORE, Plaintiff Morel demands judgment against Defendant Thies                       for

   compensatory damages, attorneys’ fees and costs pursuant to 42 USC § 1988, costs of this action,

   and also demands a jury trial of all issues so triable.

                                               COUNT II

                                     (Malicious Prosecution as to
                                     Defendant William R. Thies)

   46.    Plaintiff Morel realleges and adopts by reference the allegations contained in paragraphs 1

          through 35, as if fully set forth herein.

   47.    On or about April 18, 2002, or at some point thereafter, Defendant Thies caused a civil

          commitment prosecution to be commenced against Morel, by failing to release Morel from

          DOC custody, and instead causing the transportation of Morel to DCF custody so that he

          could be committed to the FCCC under the Jimmy Ryce Act.

   48.    The prosecution of Morel required that he had to remain committed at the FCCC until an

          evaluation was completed, and would have to participate in Phases I through IV of the sex

          offender treatment.

   49.    At the time of the commencement of the prosecution under the Jimmy Ryce Act, there was

          no basis for a reasonable person to believe that Morel was subject to the jurisdiction of the

          DCF, based on the illegal custody of Morel, the case law, the plain language of state law, and

          the revised release date for Morel which meant that he was not in lawful custody on April

          18, 2002. Hence there was absence of probable cause for such proceedings

   50.    Defendant Thies acted with malice in causing this prosecution. Malice is implied by the fact



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          that Morel did not meet the criteria eligibility for civil commitment, and that DOC no longer

          had Morel in “legal custody,” and that the case law and state law had defined the term “legal

          custody” as of April 18, 2002. Furthermore, the decision to not release Morel was made

          hastily. The reckless disregard for the rights of Morel, and the various statements made by

          these defendants to cause the prosecution and civil commitment, including the statement to

          DCF and others that Morel appeared to be a “sexually violent predator.”

   51.    No prosecution of Morel under the Jimmy Ryce Act would have occurred but for the acts of

          Defendant Thies, in forcibly transporting Morel to FCCC and refusing to have him released

          to freedom.

   52.    The civil commitment charges were resolved in favor of Morel in May 2014, as more fully

          alleged herein, when the Fourth District Court of Appeals found that DCF had no jurisdiction

          over him to initiate the Jimmy Ryce Act proceedings and detain him. Morel was released

          from custody on or about June 18, 2014.

   53.    As a result of the malicious prosecution by Defendant Thies, Morel suffered damages

          including past, present, and future emotional distress, embarrassment, humiliation, shame,

          and loss of freedom for more than 12 years, all of which exist to this day and continue in the

          future.

          WHEREFORE, Plaintiff Morel demands judgment against Defendant Thies for

   compensatory damages, costs of this action, and also demands a jury trial of all issues so triable.




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                                             COUNT III

                       (False Imprisonment as to Defendants DCF and DOC and
                              the GEO Group Inc. and GEO CARE LLC)

   54.   Plaintiff Morel realleges and adopts by reference the allegations contained in paragraphs 1

         through 35, as if fully set forth herein.

   55.   As more fully alleged herein, on or about April 18, 2002, and thereafter, Morel was

         improperly detained and incarcerated under the Jimmy Ryce Act, and a prosecution thereafter

         was commenced under the Jimmy Ryce Act.

   56.   Defendant DCF and its agents, including Defendants GEO Group Inc. and GEO CARE LLC,

         detained Morel, thereby depriving Morel of his freedom and liberty by restraining him in his

         movements. That detention was without the consent of Morel, against his will, unlawful, and

         not based upon a valid warrant or other judicial process. The detention did not end until June

         18, 2014.

   57.   Defendant DOC and its agents, acting in concert with DCF, allowed Morel to be transferred

         to the FCCC without probable cause, and in contravention of state law.

   58.   At the time of the detention, Morel was not subject to the Jimmy Ryce Act, as his adjusted

         release date meant that he was no longer in lawful custody, and also because his adjusted

         release date was before the effective date of the Jimmy Ryce Act (January 1, 1999).

   59.   As a direct and proximate result of the acts and omissions of all the Defendants, Morel

         suffered damages including past, present, and future emotional and physical distress,

         embarrassment, humiliation, and shame, all of which exist to this day and will continue in

         the future.


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          WHEREFORE, Plaintiff Morel demands judgment against Defendants DOC and DCF and

   its agents, including Defendants GEO Group Inc. and GEO CARE LLC, for compensatory damages,

   costs of this action, and also demands a jury trial of all issues so triable

                                              COUNT IV

                           (Negligence as to Defendants DCF and DOC and
                             the GEO Group Inc. and GEO CARE LLC)

   60.    Plaintiff Morel realleges and adopts by reference the allegations contained in paragraphs 1

          through 35, as if fully set forth herein.

   61.    As more fully alleged herein, on or about April 18, 2002, and thereafter, Morel was

          improperly detained and incarcerated under the Jimmy Ryce Act, and a prosecution thereafter

          was commenced under the Jimmy Ryce Act.

   62.    Each of these defendants had a duty to Morel to make sure that he was only subjected to a

          civil commitment had he been in “lawful custody”.

   63.    Defendant DOC had a duty to properly calculate release dates, per Section 944.275(4), Fla.

          Stat. It breached that duty, as well as the duty to release Morel once it was determined that

          he was not longer in “lawful custody.”

   64.    Defendants DCF and The GEO Group, Inc., also had a duty to make sure than any detainee

          had a properly calculated release date, per Section 944.275(4), Fla. Stat., before it allowed

          such detainee to be admitted for civil commitment, and that each detainee was, in fact, in

          “lawful custody” before admission into the FCCC. These Defendants breached that duty.

   65.    As a direct and proximate result of the acts and omissions of these Defendants, Morel

          suffered damages including past, present, and future emotional and physical distress,



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           embarrassment, humiliation, and shame, all of which exist to this day and will continue in

           the future.

           WHEREFORE, Plaintiff Morel demands judgment against Defendants DOC and DCF and

   its agents, including Defendants GEO Group Inc. and GEO CARE LLC, for compensatory damages,

   costs of this action, and also demands a jury trial of all issues so triable

                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true copy of the foregoing Amended Complaint has been electronically
   filed and also emailed to the Service List, on this 9th day of June, 2018, in conjunction with the Motion for
   Leave to File the Amended Complaint, served on the same date.

                                                     Respectfully submitted,

                                                     /s Valentin Rodriguez
                                                     ___________________________
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